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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

MARYLAND CHAPTER OF THE SIERRA
CLUB, et al.,

                              Plaintiffs,
       v.                                            Civil Action No. DKC 22-2597

FEDERAL HIGHWAY ADMINISTRATION,
et al.,


                              Defendants.

NORTHERN VIRGINIA CITIZENS’
ASSOCIATION,

                              Plaintiff,             Civil Action No. DKC 22-3336
v.

FEDERAL HIGHWAY ADMINISTRATION,
et al.,

                              Defendants.

                        NOTICE OF FILING OF JOINT APPENDIX

       The Parties in the above-captioned consolidated cases hereby submit a joint appendix to

the cross-motions for summary judgment filed by Plaintiffs, State Defendants, and Federal

Defendants. The Parties jointly prepared the appendix and agree that the appendix contains all

documents in the Administrative Record that they have cited or otherwise relied on in their

summary judgment briefing. The table below identifies the documents contained in this Joint

Appendix. To accommodate file sizes, Plaintiffs will be filing the Joint Appendix documents on

CM/ECF in volumes, with each volume constituting a separate CM/ECF filing event. State

Defendants are also providing a hard drive containing the Joint Appendix to the Court’s

chambers.
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Doc No.     AR Range      Document Title                                  Document Date

                                 Joint Appendix Volume 1

   1.       1-220         Record of Decision                              August 25, 2022

   2.       221-701       Final Environmental Impact Statement (FEIS)     June 2022

                                 Joint Appendix Volume 2

   3.       702-1501      Appendix A - Final Traffic Analysis Technical   June 2022
                          Report

   4.       1502-2024     Appendix B - MDOT SHA's Draft Application       June 2022
                          for Interstate Access Point Approval (IAPA)

   5.       4319-4690     Appendix C - Final COVID-19 Travel              June 2022
                          Analysis & Monitoring Plan

                                 Joint Appendix Volume 3

   6.       5098-5135     Appendix E - Environmental Resource             June 2022
                          Mapping

   7.       5136-5617     Appendix F - Final Community Effects            June 2022
                          Assessment and Environment Justice Analysis
                          Technical Report

   8.       5618-5702     Appendix G - Final Section 4(f) Evaluation      June 2022

   9.       5703-5776     Appendix H - Final Visual Impact Assessment     June 2022

                                 Joint Appendix Volume 4

   10.      5777-6651     Appendix I - Cultural Resources Technical       June 2022
                          Report Volume 1: Overview and Effects
                          Assessment

   11.      7424-8215     Appendix I - Cultural Resources Technical       June 2022
                          Report Volume 3: Architectural Historic
                          Properties Identification Part 2

                                 Joint Appendix Volume 5

   12.      13563-14282   Appendix I - Cultural Resources Technical        January 2022
                          Report Volume 8 and Volume 9



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13.   14283-14322   Appendix J - Programmatic Agreement             May 17, 2022

14.   14323-14573   Appendix K - Final Air Quality Technical        June 2022
                    Report

15.   14914-15086   Appendix M - Final Natural Resources            June 2022
                    Technical Report

16.   17681-17780   Appendix N - Final Avoidance, Minimization,     June 2022
                    and Impacts Report

17.   19791-19891   Appendix P - JPA: Final Avoidance,              May 2022
                    Minimization, and Impacts Report

18.   21108-21193   Appendix Q - Final Indirect and Cumulative      June 2022
                    Effects Technical Report

                          Joint Appendix Volume 6

19.   21194-21333   Appendix R - Final Public Involvement and       June 2022
                    Agency Coordination Technical Report

20.   22044-22210   Appendix T - Supplemental Draft                  June 2022
                    Environmental Impact Statement (SDEIS)
                    Agency Comments and Responses - T.1.B

21.   22211-22445   Appendix T - Draft Environmental Impact          June 2022
                    Statement Community Organization
                    Comments and Responses - T.2.A Volume 1

22.   22446-22633   Appendix T - Draft Environmental Impact          June 2022
                    Statement Community Organization
                    Comments and Responses - T.2.A Volume 2

                          Joint Appendix Volume 7

23.   22634-22748   Appendix T - Draft Environmental Impact          June 2022
                    Statement Community Organization
                    Comments and Responses - T.2.A Volume 3

24.   22749-22944   Appendix T - Supplemental Draft                  June 2022
                    Environmental Impact Statement Community
                    Organization Comments and Responses -
                    T.2.B Volume 1




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25.   22945-23041   Appendix T - Supplemental Draft                  June 2022
                    Environmental Impact Statement Community
                    Organization Comments and Responses -
                    T.2.B Volume 2

26.   27121-27125   Appendix U - Final Environmental Assessment      June 2022
                    Form

27.   27343-27630   I-495 & I-270 Managed Lanes Study,              October 2021
                    Supplemental Draft Environmental Impact
                    Statement and Updated Draft Section 4(f)
                    Evaluation

                          Joint Appendix Volume 8

28.   27631-27918   I-495 & I-270 Managed Lanes Study,              October 2021
                    Supplemental Draft Environmental Impact         (Revised
                    Statement and Updated Draft Section 4(f)        November 10,
                    Evaluation (With Updated Table ES-1 on Pg.      2021)
                    ES-13)

29.   27919-28126   Appendix A - Supplemental Draft             October 2021
                    Environmental Impact Statement and Updated
                    Draft Section 4(f) Evaluation: Traffic
                    Evaluation Memorandum Alternative 9 - Phase
                    1 South

30.   32153-32192   Appendix D - Environmental Resource             October 2021
                    Mapping

31.   35712-36065   I-495 & I-270 Managed Lanes Study, Draft         June 2020
                    Environmental Impact Statement and Updated
                    Draft Section 4(f) Evaluation

32.   36066-36115   Appendix A - Purpose and Need                   November 2018

                          Joint Appendix Volume 9

33.   36558-38113   Appendix C - Traffic Analysis Technical          May 2020
                    Report

                          Joint Appendix Volume 10

34.   38330-38575   Appendix E - Community Effects Assessment        May 2020
                    and Environmental Justice Analysis

35.   38576-38975   Appendix F - Draft Section 4(f) Evaluation       May 2020


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                          Joint Appendix Volume 11

36.   44910-46849   Appendix I - Air Quality Technical Report       May 2020

37.   55593-55594   DOT, Notice of Intent to Prepare               March 16, 2018
                    Environmental Impact Statement

38.   55844-55845   I-495 & I-270 Managed Lanes Study,             March 14, 2018
                    Interagency Working Group Meeting #1 Notes

39.   55855         FHWA Coordination Meeting Agenda               March 20, 2018

40.   55881-55907   I-495 & I-270 Managed Lanes Study,             March 14, 2018
                    Interagency Working Group Meeting #1
                    Presentation

41.   55930         FHWA Coordination Meeting Agenda               April 3, 2018

42.   56083-56084   Tolling Considerations - Attachment to Donna   April 6, 2018
                    Sherman’s April 6, 2018 “I-495 & I-270
                    Success Management Workshop” Email

43.   56093         FHWA Coordination Meeting Agenda               April 17, 2018

44.   56563         FHWA Coordination Meeting Agenda               May 1, 2018

45.   56583-56602   I-495 & I-270 Managed Lanes Study,              April 12, 2018
                    Interagency Working Group Meeting #2
                    Presentation

46.   57883         FHWA Coordination Mtg Agenda                   June 5, 2018

47.   57903-57915   I-495 & I-270 Managed Lanes Study, Agency      May 16, 2018
                    Coordination Plan

48.   58440         FHWA Coordination Meeting Agenda               June 19, 2018

49.   59935-59936   MDOT SHA/FHWA Coordination Meeting             August 21, 2018
                    Notes

50.   61422-61426   I-495 & I-270 Managed Lanes Study,             October 17, 2018
                    Interagency Working Group Meeting #6 Notes

51.   62446         Email from Caryn Brookman Re: Air Quality      December 21,
                    Call with Petra Jacobs                         2018




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52.   64813-64842     I-495 & I-270 Managed Lanes Study,                April 10, 2019
                      Interagency Working Group Meeting #9
                      Presentation

53.   76253-76285     VDOT 495 NEXT - NPS George Washington             December 16,
                      Memorial Parkway Coordination Meeting             2019
                      Presentation

54.   117460-117461   I-495 & I-270 Managed Lanes Study MDOT            March 10, 2020
                      SHA/FHWA Coordination Meeting Notes

55.   117538-117546   Email from Steve Archer to Charlotte Troup        April 4, 2020
                      Leighton and Richard Ervin Re: Moses Hall
                      Cemetery cleanup/meeting

56.   118985          The Washington Post News Article, “‘Aunt          June 30, 1936
                      Emma’ Jones Dies at Cabin John”

57.   119296-119297   I-495 & I-270 Managed Lanes Study, MDOT           April 21, 2020
                      SHA/FHWA Coordination Meeting Notes

58.   131349-131358   EPA Signed Technical Support Document for          May 5, 2020
                      the Review of the 1997 8-Hour Ozone
                      NAAQS, 2008 8-hour ozone NAAQS, and the
                      2015 8-hour ozone NAAQS Conformity
                      Determinations of the FY 2021-2024 TIP and
                      Visualize 2045 LRTP

59.   131392-131393   FHWA Email Chain Re: Regional Air Quality         June 2020
                      Conformity – MLS

60.   135084-135089   MDOT Correspondence to Senators Lee and           September 28,
                      Young                                             2020

61.   135914-135916   Letter from Ian Fisher (Jill Grant & Associates   October 15, 2020
                      LLC) to MDOT SHA Re: I-495 & I-270
                      Managed Lanes Study DEIS Traffic Files/Data

62.   135999-136000   MDOT Letter to Ian Fisher (Jill Grant &           October 14, 2020
                      Associates LLC) Re: Request Pursuant to
                      Maryland Public Information Act GP § 4-101
                      et seq.

63.   136152-136155   Email from Keilyn Perez to Jitesh Parikh Re:      October 21, 2020
                      I-495 & I-270 Managed Lanes Study DEIS
                      Traffic Files/Data



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64.   136264-136266   Email from Jitesh Parikh to Ian Fisher (Jill    October 23, 2020
                      Grant & Associates LLC), Lida Choplin,
                      MDOT, Lindsey Mendelson, Paula Posas,
                      Mary Clemmensen, Brock Miller and Jeanette
                      Mar Re: I-495 & I-270 Managed Lanes Study
                      DEIS Traffic Files/Data

                          Joint Appendix Volume 12

65.   136908-137120   Lisa Choplin, Jeanette Mar, Jack Dinne and      November 6,
                      Steve Hurt Comments on DEIS, 4(f), and JPA      2020

66.   141256-141267   U.S. Army Corps of Engineers Letter to Caryn    December 3,
                      Brookman Re: Application CENAB-OPR-MN           2020
                      (MDOT SHA/1-495 1-270 Managed Lane
                      Study) 2018-02152-M15

67.   141810-141818   I-495 & I-270 Managed Lanes Study,              January 27, 2021
                      Interagency Working Group Meeting No. 13
                      Notes

68.   145073-145075   Email from Steve Archer to Paige Whitley,       April 22, 2021
                      Richard Ervin, Julie Schablitsky and Matt
                      Manning Re: Maguire Funeral Home 1964
                      Payout With Condemned Land Abutting
                      Morningstar Tabernacle No. 88 Cemetery &
                      Hall

69.   145782-145785   FHWA and DOT Email Chain Re: Air Quality        May 2021
                      Conformity Question

70.   146294-146295   Email from Jitesh Parikh to Diane Mobley and    May 19, 2021
                      Lev Gabrilovich Re: MLS AQ Conformity
                      Internal Meeting Information

71.   146616          Email from Alan Whittemore Re: Plummer’s        May 26, 2021
                      Island History

72.   146617-146619   Science (Vol. 204) Article, “Lichen Growth      April 27, 1979
                      Responses to Stress Induced by Automobile
                      Exhaust Pollution” (Attachment to Alan
                      Whittemore’s May 26, 2021 Email)




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73.   147665-147667   Email Chain Between Julie Schablitsky and        June 15, 2021
                      Steve Archer Re: FHWA input on
                      MLS/Morningstar Cemetery Effect
                      Determination

74.   148221-148224    Friends of Moses Hall Comments on the           June 28, 2021
                      Supplemental Cultural Resources and
                      Technical Report and Archaeological
                      Monitoring for the I-495 & I-270 Managed
                      Lanes Study for Morningstar Tabernacle No.
                      88 Moses Hall and Cemetery

75.   153086-153094   Draft Proactive Engagement and P3                Undated
                      Communications Strategy, Morningstar
                      Cemetery Communications Strategy

76.   154634-154640   I-495 & I-270 Managed Lanes Study                September 1,
                      Cooperating Agency SDEIS Comment Review          2021
                      Meeting Notes

77.   155109-155138   MDOT New American Legion Bridge I-270 to         September 28,
                      I-70 Traffic Relief Plan, Fairfax County Board   2021
                      of Supervisors Transportation Committee
                      Meeting Presentation

78.   155831-155912   Dissertation Submitted by Alexandra Jones,       Spring 2010
                      UC-Berkeley, Titled “Gibson Grove Gone But
                      Not Forgotten: The Archeology of an African
                      American Church”

79.   156115-156118   Friends of Moses Hall Letter to Steve Archer     October 8, 2021
                      Re: Report on Geophysical Surveys and GPR
                      Presentation

80.   156196-156197   Email Chain Between Christine Sutkowski to       October 2021
                      James Guinther, Carlos Brown, Jeff Roberta,
                      Kenneth Bauer and Catherine Robbins Re:
                      VDOT SDEIS comment - Live Oak Drive

81.   157199-157200   Email from Steve Archer to David Clarke Re:      November 2,
                      Section 106 Comments on the I-495 & I-270        2021
                      Managed Lane Study




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82.   158545-158548   EPA Letter to FHA and MDOT Re: I-495 & I-       November 30,
                      270 Managed Lanes Study, Supplemental           2021
                      Draft Environmental Impact Statement and
                      Updated Draft Section 4(f) Evaluation CEQ#
                      20210149

83.   158557-158739   Comments on I-495 & I-270 Managed Lane          November 30,
                      Study Supplemental Draft Environmental          2021
                      Impact Statement and Updated Draft Section
                      4(f) Evaluation, Submitted by the City of
                      Rockville, Sierra Club Maryland Chapter,
                      Audubon Naturalist Society and Other
                      Organizations

84.   159154-159165   Maryland State Treasurer Review of Proposed     July 9, 2021
                      Public-Private Partnership

85.   159731-159748   Maryland-National Capital Park and Planning     November 30,
                      Commission Letter to FHA and MDOT SHA           2021
                      Re: I-495 & 270 Managed Lanes Study –
                      Supplemental Draft Environmental Impact
                      Statement

86.   159972-159974   Email from Steve Archer to Matt Manning Re:     December 13,
                      LOD Above Live Oak                              2021

87.   159975-159976   Email from James Guinther to Bryan              October 11, 2021
                      Townsend, Christine Sutkowski and Carlos
                      Brown Re: VDOT SDEIS Comment - Live
                      Oak Drive

88.   160595-160601   Sierra Club Maryland Chapter Letter to FHA      January 4, 2022
                      and MDOT Re: I-495 & I-270 Managed Lanes
                      Study Supplemental Draft Environmental
                      Impact Statement (SDEIS)

89.   161295-161310   Friends of Moses Hall Letter to MDOT Re:        February 3, 2022
                      Draft Programmatic Agreement and No
                      Adverse Effects Finding for Morningstar
                      Tabernacle No. 88 Moses Hall and Cemetery,
                      Cabin John, MD




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90.    161429-161433   Maryland Historical Trust Letter to MDOT Re: February 4, 2022
                       I-495 & I-270 Managed Lanes Study (MLS)
                       Montgomery and Prince George’s Counties,
                       Maryland MDOT SHA Project No.
                       AW073C12

91.    163466-163479   McLean Citizens Association 495 Express        February 8, 2022
                       Lanes Northern Extension Project VDOT
                       Presentation

92.    163480-163495   McLean Citizens Association, New American February 8, 2022
                       Legion Bridge I-270 to I-70 Traffic Relief Plan
                       Presentation

93.    166581-166587   I-270 & I-495 Managed Lane Study, IAPA         February 4, 2022
                       Comments, IAPA Technical Report Errata
                       Sheet

94.    167482          I-495 and I-270 P3 Program Phase I,            Undated
                       Conceptual Guide Signing Plan

95.    167678-167695   I-270 & I-495 Managed Lane Study, IAPA         February 4, 2022
                       comments - IAPA Technical Report Errata
                       Sheet - FHWA Comments

96.    169477-169497   U.S. v. Certain Parcels of Land in             June 24, 1958
                       Montgomery County (Maryland Civil Case
                       No. 10676), Complaint

97.    173462-173470   Friends of Moses Hall Letter to MDOT Re: I-    May 2, 2022
                       495 and I-270 MLS Section on 106 Materials,
                       PA Third Draft - Archaeological Treatment
                       Plan (Attachment 5) and Cultural Resources
                       Treatment Plan (Attachment 4)

98.    174407-174459   MDOT SHA Design Exception Request Form         May 27, 2022
                       – DE09

99.    174492-174496   Email Chain Between MDOT, U.S. Army            May 2022
                       Corps of Engineers, C&O Canal National
                       Historic Park, and National Park Service Re:
                       Plummers Island Piers

100.   174746-174755   Email Chain Between Matthew Harrell and Ali May-June 2022
                       Nomani Re: I-495 Express Lanes Northern
                       Extension Project Update #5 - May 11, 2022



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101.   174756          VDOT Next Mapping with Op Lanes Map               Undated

102.   174838-174866   Summary of American Legion Bridge                 June 3, 2022
                       Conceptual Design and Avoidance and
                       Minimization

103.   174970-174984   I-270 & I-495 Managed Lane Study, Section         Undated
                       106 Programmatic Agreement Draft #3
                       Comment Table

104.   175918-175920   Jill Grant & Associates LLC Letter to MDOT June 29, 2022
                       Re: I-495 & I-270 Managed Lanes Study DEIS
                       Traffic Files/Data

105.   177560-177584   Exhibit J - 2021-08-20 Washington Biologists'     August 20, 2021
                       Field Club on Plummers Island, Maryland
                       Historical Trust Determination of Eligibility
                       Form

106.   177621-177649   Exhibit E - Roselie Ann Bright, Sc.D., M.S.       July 14, 2022
                       Letter to Josh Tulkin and the Sierra Club
                       Maryland Chapter Re: Comments on FEIS’s
                       Lack of a Serious Analysis of Impacts to
                       Public Health

107.   177664-177674   Exhibit G - Zamurs and Associates, LLC            June 2022
                       Report on the FEIS and Response to
                       Comments

108.   177760-177829   Comments on I-495 & I-270 Managed Lane         July 18, 2022
                       Study Final Environmental Impact Statement
                       and Final Section 4(f) Evaluation, Submitted
                       by the City of Rockville, Sierra Club Maryland
                       Chapter, Audubon Naturalist Society and
                       Other Organizations

109.   177868          VDOT Next Mapping with Op Lanes Map               Undated
                       Dimensions (With Annotations)

110.   177978-177980   Email from Rodney Hill to Walter Miller, Don      July 22, 2022
                       MacLean and Bryan Townsend Re:
                       Complementary Responses to Questions and
                       Comments - Live Oak Drive Meeting




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111.   178598-178626   VDOT Letter to Supervisor Foust, Senator        July 29, 2022
                       Favola and Delegate Murphy Re: Responses to
                       Questions from Foust, Favola and Murphy

112.   178647-178671   Exhibit B - Smart Mobility Report: Review of    July 2022
                       Maryland I-495 & I-270 Managed Lanes Final
                       Environmental Impact Statement and Final
                       Section 4(f) Evaluation

113.   178681-178718   Exhibit B - Smart Mobility Report: Review of    July 2022
                       Maryland I-495 & I-270 Managed Lanes Final
                       Environmental Impact Statement and Final
                       Section 4(f) Evaluation (With Appendices)

114.   179466-179468   Email from Jitesh Parikh to Keilyn Peres,       August 5, 2022
                       Jeanette Mar, Sharon Vaughn-Fair and
                       Christopher Hansen Re: FW Governor Hogan
                       Calls on President Biden, Secretary Buttigieg
                       to Reverse Federal Highway Administration
                       Decision to Delay Traffic Relief Plan for
                       American Legion Bridge and Capital Beltway

115.   179750-179753   Memorandum from Don Pickrell and Scott          August 15, 2022
                       Smith to Gloria Shepherd and Gregg Fleming
                       Re: INFORMATION: I-495 & I-270 Managed
                       Lanes Study, Review of MTOC Comments
                       and Proposed Response

116.   179967-179982   MDOT SHA Response Letter to Questions           August 19, 2022
                       from the McLean Citizens Association
                       Transportation Committee

117.   186884          Email from Stephanie Pollack to FHWA Re:        June 8, 2022
                       Follow Up to Maryland I-495/I-27 MLS FEIS
                       Briefing

118.   186887-186888   I-495 & I-270 Managed Lanes Study,              October 20, 2021
                       CEEJHLab Discussion Meeting Summary

119.   189217-189230   George Washington Memorial Parkway              Undated
                       Interchange Renderings Binder V3

120.   189231-189241   I-495 & I-270 Managed Lanes Study, NPS          March 4, 2021
                       Coordination Presentation - Draft George
                       Washington Memorial Parkway Geometric
                       Design


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121.   189242-189247   I-495 & I-270 Managed Lanes Study, NPS          March 4, 2021
                       Coordination Presentation - Draft George
                       Washington Memorial Parkway History Slides

122.   189303-189336   Virginia Department of Transportation, Public   September 29,
                       Information Meeting, Draft Presentation         2021

123.   189584-189585   MDOT Letter to Craig Simoneau Re: request       October 13, 2022
                       Pursuant to the Maryland Public Information
                       Act, GP § 4-101 et seq.

124.   189586-189590   MDOT Letter to Christina McClintock Re:         July 14, 2022
                       Pursuant to the Maryland Public Information
                       Act, GP § 4-101 et seq.

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125.   189812-189860   I-495 & I-270 Managed Lanes Study, MLS          Undated
                       Administrative Draft - DEIS Agency
                       Comments Errata Sheet - FHWA Comments

126.   189877-189878   I-495 & I-270 Managed Lanes Study,              Undated
                       Administrative Draft – Supplemental DEIS
                       Errata Sheet

127.   189890          FWS Email Chain Re: Update on Air Quality       July 2021
                       Modeling for I495/I270 MLS Project

128.   189916-189936   Friends of Moses Hall Letter to MDOT and        July 15, 2022
                       FHA Re: Final Environmental Impact
                       Statement for I-495 & I-270 Managed Lanes
                       Study Morningstar Moses No. 88 Cemetery
                       and Hall Site, Cabin John, Montgomery
                       County, Maryland

129.   191874-191886   “The Concentration-Response Between Long-       August 1, 2018
                       Term PM2.5 Exposure and Mortality” by
                       Alina Vodonos et al.

130.   193008-193019   “Induced Vehicle Travel in the Environmental    Undated
                       Review Process” by Jamey M. B. Volker et al.

131.   193102-193117   “Influence of Roadway Emission on Near-         July 2, 2020
                       Road PM2.5” by Anondo Mukherjee et al.




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    132.   193221-193224    The New England Journal of Medicine, “The      August 13, 2020
                            Need for a Tighter Particulate-Matter Air-
                            Quality Standard”

    133.   193536-193546    “Monitoring Study of the Near Road PM2.5       August 14, 2015
                            Concentrations in Maryland” by Helen
                            Ginzburg et al.

    134.   196360-197556    EPA, “Integrated Science Assessment for        December 2019
                            Particulate Matter”

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    135.   198348-198489    Draft Appendix B - American Legion Bridge      April 9, 2021
                            Strike Team Report

    136.   198490-198543    I-495 & I-270 Managed Lanes Study, Cultural    March 31, 2022
                            Resources Treatment Plan for the Morningstar
                            Cemetery and Montgomery County Poor Farm
                            Cemetery - Draft 1




Respectfully Submitted,

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FRANCES B. MORRIS

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